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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

MIKE HIBDON, as Personal Representative
                                 )
of the Estate of Audrey Hibdon-Hotopp,
                                 )
                                 )
                  Plaintiff,     )
                                 )
v.                               )                       Case No.: CIV-14-351-M
                                 )
FARMERS INSURANCE COMPANY, INC., )
                                 )
                  Defendant.     )

                         NOTICE OF REMOVAL BY
                     FARMERS INSURANCE COMPANY, INC.

       COMES NOW, Defendant, Farmers Insurance Company, Inc. (hereinafter

“Farmers”), and pursuant to 28 U.S.C. §§ 1332 and 1441 submits this Notice of Removal

of the referenced action from the District Court of Oklahoma County, State of Oklahoma,

to this Court. In support of its notice of removal, Farmers states as follows:

       1.     On March 18, 2010, Plaintiff filed a Petition in the District Court of

Oklahoma County, State of Oklahoma, against Farmers. The case was assigned Case No.

CJ-2010-2342 (“the first State Court Action”).

       2.     The first State Court Action was subsequently dismissed without prejudice

on September 19, 2011.

       3.     On September 19, 2012, Plaintiff re-filed a Petition in the District Court of

Oklahoma County, State of Oklahoma, against Farmers. The case was assigned Case No.

CJ-2012-5929 (“the second State Court Action”).

       4.     On January 25, 2013, the case was dismissed without prejudice by the court


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for, failure to issue summons or file a waiver within ninety (90) days of the date of filing

of the petition or alias summons was not issued within thirty (30) days after return of the

summons not served as required by Rule 9(A) of the Supreme Court Rules for the District

Courts; however, the dismissal was vacated on February 6, 2013.

       5.      A copy of the summons was received by the Insurance Commissioner as

designated agent for service of process of foreign insurance companies doing business in

the State of Oklahoma on March 13, 2014.

       6.      Farmers subsequently received notice from the Insurance Commissioner of

the summons and Petition on March 13, 2014.

       7.      The Notice of Removal is being filed within thirty (30) days after service.

The Notice of Removal is timely filed under 28 U.S.C. § 1446(b).

       8.      Farmers is an insurance company with its principal place of business in

either the state of California or the State of Kansas.

       9.      Plaintiff is a citizen of Oklahoma County, Oklahoma.

       10.     Plaintiff is asserting claims alleging breach of contract and breach of the

duty of good faith and fair dealing. Plaintiff is claiming damages for financial loss,

mental distress, emotional distress, and “other” damages. Based on these allegations, it is

clear Plaintiff’s claims are for an amount in excess of $75,000.

       11.     The diversity and amount in controversy requirements of § 1332 are met in

this case and removal to the United States District Court for the Western District of

Oklahoma is therefore proper under § 1441.

       12.     Pursuant to 28 U.S.C. § 1446(a) and LCvR81.2 a copy of the original

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Petition filed in the second State Court Action, Oklahoma County District Court Case

No. CJ-2012-5929 is attached as Exhibit “1,” a copy of the docket sheet of the case is

attached as Exhibit “2,” and copies of all remaining documents filed or served in this case

are attached hereto and marked collectively as Exhibit “3.”

       13.     Additionally, a copy of the original Petition filed in the first State Court

Action, Oklahoma County District Court Case No. CJ-2010-2342 is attached as Exhibit

“4,” and a copy of the dismissal without prejudice is attached as Exhibit “5.”


                                            Respectfully submitted,


                                            /s/ Michael D. Duncan____________________
                                            Michael D. Duncan, OBA No. 11601
                                            Anna L. Brannon, OBA No. 30998
                                            CHUBBUCK DUNCAN & ROBEY, P.C.
                                            119 North Robinson Avenue, Suite 820
                                            Oklahoma City, Oklahoma 73102
                                            Telephone: (405) 236-8282
                                            Facsimile: (405) 236-2828
                                            mdduncan@chubbucklaw.com
                                            abrannon@chubbucklaw.com
                                            Attorneys for Defendant Farmers Insurance
                                            Company, Inc.




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                            CERTIFICATE OF SERVICE

       This is to certify that on the 10th day of April, 2014, I served a copy of the
foregoing document by United States Mail, postage prepaid, addressed to the following
and I electronically transmitted the attached document to the Clerk of the Court using
ECF System for filing. Based on the electronic records currently on file, the Clerk of the
Court will transmit a Notice of Electronic Filing to the following recipients:

       Paul E. Quigley, OBA No. 7367
       QUIGLEY, HENRY & HILL
       4045 NW 64th Street, Suite 300
       Oklahoma City, Oklahoma 73116
       Telephone: (405) 858-0055
       Facsimile: (405) 848-1794
       Attorney for Plaintiff




                                                    /s/ Michael D. Duncan




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